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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO

    STUDENT RESOURCE CENTER,  )
    LLC,                      )
                              )
         Plaintiff,           )
                              )                               Case No. 2:22-cv-2653
    v.                        )
                              )                               Chief Judge Algenon L. Marbley
    EASTERN GATEWAY COMMUNITY )
    COLLEGE,                  )                               Magistrate Judge Chelsey M.
                              )                               Vascura
         Defendant.           )
                              )
                              )
                              )
                              )



     PLAINTIFF’S MOTION FOR DEFENDANT TO SHOW CAUSE FOR VIOLATING,
    AND TO EXPAND, THE COURT’S JULY 11, 2022 ORDER GRANTING PLAINTIFF’S
                   MOTION FOR PRELIMINARY INJUNCTION



            Student Resource Center, LLC (“SRC”) respectfully requests that the Court issue an

    Order to Show Cause why Defendant Eastern Gateway Community College (“EGCC”) should

    not be held in contempt and sanctioned for violating the Court’s July 11, 2022 Order (the

    “Order”) granting SRC’s Motion for Preliminary Injunction by continuing to compete with SRC

    in violation of the Agreement1. Additionally, SRC requests that the Court expand its Order to

    (1) enjoin EGCC from continuing to wrongfully withhold profit-sharing payments owed to SRC

    in the amount of $2,357,153.08 for semesters that ended prior to December 2021; (2) ordering

    the immediate payment of the same by August 19, 2022; (3) enjoin immediate future wrongful



1
 Capitalized terms left undefined will carry the same meaning as defined in SRC’s Motion for Preliminary
Injunction (ECF No. 2).




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 withholding and require EGCC to submit payment of any undisputed profit-sharing payment

 due for the spring 2022 and summer 2022 semesters on or before September 30, 2022; and (4)

 to require EGCC to immediately allow SRC to perform an audit of the Collaboration, which the

 Collaboration Agreement permits under Section 7.4. See (ECF No. 11, Ex. A., PAGEID# 176-

 77). For the reasons explained in the accompanying brief and affidavits in support of this motion,

 SRC respectfully requests that the Court set a hearing on this motion within a reasonable amount

 of time before August 19, 2022 so that the Court may enter an Order requiring EGCC to make

 payment to SRC by August 19, 2022, with any opposition to this motion required to be filed

 before that hearing, and after such hearing, enter an expanded preliminary injunction and order

 of sanctions against EGCC for violating the Court’s Order. A proposed order is attached hereto

 as Exhibit 1.


 Dated: August 12, 2022                              Respectfully submitted,

                                                     /s/ Robert C. Folland
                                                     C. David Paragas (0043908)
                                                     Robert C. Folland (0065728) Trial Attorney
                                                     David M. DeVillers (0059456)
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                                                     Attorneys for Plaintiff Student Resource
                                                     Center, LLC




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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO

 STUDENT RESOURCE CENTER, LLC,        )
                                      )
       Plaintiff,                     )
                                      )       DEMAND FOR JURY TRIAL
 v.                                   )
                                      )       Case No.
 EASTERN GATEWAY COMMUNITY            )
 COLLEGE,                             )
                                      )
       Defendants.                    )
                                      )
                                      )
                                      )
                                      )
                                      )

   PLAINTIFF STUDENT RESOURCE CENTER LLC’S BRIEF IN SUPPORT OF
   MOTION FOR DEFENDANT TO SHOW CAUSE FOR VIOLATING, AND TO
EXPAND, THE COURT’S JULY 11, 2022 ORDER GRANTING PLAINTIFF’S MOTION
                   FOR PRELIMINARY INJUNCTION




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    I.       INTRODUCTION

          Undeterred by the Court’s July 11, Order (the “Order”) granting SRC’s Motion for

Preliminary Injunction, EGCC continues to wage its campaign to squeeze out and compete with

SRC. In its latest and, to date, most blatant action, EGCC has hired and refused to terminate the

employment of Brittani Gassner. Ms. Gassner recently resigned from SRC and is now performing

substantially identical job duties for EGCC as she performed for SRC. EGCC is also still

improperly withholding payment in the amount of $2,357,153.08 due under its Agreement with

SRC for profit-sharing reimbursement corresponding to the summer and fall 2021 enrollment

period, completed prior to December 31, 2021. Although this motion partially seeks a monetary

remedy, immediate injunctive relief is necessary because EGCC’s dilatory tactics deprive SRC of

what the Court described as SRC’s “lifeblood” as a business, and set SRC “on a clear path to

insolvency,” which will cause an incalculable amount of damages to SRC and constitutes

irreparable harm. (ECF No. 14, PAGEID# 289).2

    II.      STATEMENT OF FACTS

          The Court previously made several relevant findings of fact in its Order, which SRC

reincorporates here by way of citation. See generally (ECF No. 14). Moreover, the Court enjoined

EGCC from “starting and operating a competing business while the Agreement remains in effect.”

(Id.)

          The following additional facts, occurring both before and after the Court’s Order, are

relevant to this motion. The Agreement calls for two categories of payments owed by EGCC to

SRC: operational-expense reimbursements (ECF No. 11, Ex. A, Paragraph 2 of Ex. B of the

Agreement) and profit-sharing payments (ECF No. 11, Ex. A, Paragraph 3 of Ex. B of the


2
  See (ECF No. 1 ¶ 16 n.1) (Noting that SRC may be required to separately seek injunctive relief for the immediate
repayment of profit-sharing payments in the future).




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Agreement). The thrust of this motion does not center on the operational-expense reimbursements

currently owed to SRC. Rather, the focus of this motion centers on the undisputed amount owed

to SRC for profit-sharing payments of $2,357,153.08 representing the profit-sharing payments for

semesters that ended prior to December 31, 2021. The next profit-sharing payment deadline is

September 30, 2022 for the spring and summer 2022 semesters, which SRC calculates to be

$8,359,643, if EGCC does not submit the $2,357,153.08 payment beforehand.

           a. The Agreement Requires EGCC to Submit Profit-Sharing Payments for the
              Semesters Ending Before December 31, 2021.

       Paragraph 3 of the Agreement provides: “[w]ithin thirty (30) days of the end of the summer

and fall semesters, EGCC will provide SRC with a semester reconciliation of the Revenue

Collected and Operating Expenses paid in each such semester… EGCC will distribute the Surplus

from the Collaboration Account as follows: 50% to SRC and 50% to EGCC. SRC is entitled to

50% of the surplus of funds remaining in the Collaboration Account as shown in the semester

reconciliation.” (ECF No. 11, Ex. A, Paragraph 3 of Ex. B of the Agreement). The summer 2021

semester ended on August 1, 2021 and fall 2021 semester ended on December 13, 2021 yet SRC

has not received any profit-sharing payment for either semester. (ECF No. 12, Ex. C, ¶¶ 20).

According to SRC’s calculations, which are based on EGCC’s financial statements, the

outstanding unpaid balance is $2,357,153.08 for all semesters ending prior to December 31, 2021.

(Id. at ¶ 21; ECF No. 12, Ex. F, ¶ 7; ECF No. 16, PAGEID# 345).

           b. SRC Provided EGCC Notice of the $2,357,153.08 Owed on Multiple
              Occasions.

       SRC has made several attempts to collect payment for the profit-sharing payments

corresponding to the semesters ending prior to December 2021. See e.g., Declaration of Phillip

Braithwaite, attached hereto as Exhibit 2, Ex. 2-A, ¶¶ 3-11, (5/20/2022 correspondence to EGCC);




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Braithwaite Dec., Ex. 2-B (6/10/2022 correspondence to EGCC); Braithwaite Dec., Ex. 2-C

(7/18/2022 correspondence to EGCC); Braithwaite Dec., Ex. 2-D (8/1/2022 correspondence).

Moreover, SRC’s CFO, Aimee Leishure, testified during the preliminary injunction hearing that

prior to Michael Perik’s removal as CEO of SRC, EGCC had been submitting contributions to

SRC’s entitled profit share twice a month. (ECF No. 16, PAGEID# 345). Ms. Leisure also testified

that by the time of the preliminary injunction hearing, she had not received any communication

from EGCC regarding the $2,357,153.08 owed to SRC. (Id., at PAGEID# 345-46).

           c. EGCC Does Not Dispute It Owes SRC Profit-Sharing Payments.

       Despite an opportunity to cross-examine Ms. Leishure and an opportunity to elicit

testimony from EGCC’s president, Mr. Geoghegan, EGCC offered no testimony to dispute the

amount of profit share owed to SRC under the Collaboration Agreement. See generally (ECF No.

16, PAGEID# 365-417). Instead, Mr. Geoghegan mentioned only that he, on behalf of EGCC,

disputes the operational-expense reimbursements (i.e., ECF No. 11, Ex. B to the Agreement,

Paragraph 2) and not the profit-sharing payments (i.e., ECF No. 11, Ex. A, Paragraph 3). In fact,

on July 11, 2022, Ms. Leishure submitted an account statement to EGCC representing the profit-

sharing amounts owed based on the EGCC enrollments for semesters completed prior to December

31, 2021. See (Declaration of Aimee Leishure, attached hereto as Exhibit 3, Leishure Dec., ¶ 4).

The amount demanded was $2,357,153.08 and was supported by EGCC’s April 30, 2022 financial

statements. See (Leishure Dec., ¶ 4).

       Moreover, on July 20, 2022, EGCC conducted a meeting of its Board of Trustees, and

during that meeting, EGCC’s own accounting department acknowledged its current liabilities of

approximately $2,500,000 due and owed to SRC under the Agreement for the profit-sharing

payment. See Leishure Dec., ¶ 5. Finally on August 2, 2022, EGCC sent correspondence to SRC’s




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counsel, which addressed several points of contention between the parties but failed to explain

why EGCC has not paid any amount of profit-sharing payments to SRC for the summer and fall

2021 semesters, and indeed did not deny that EGCC owed profit-sharing payments to SRC which

had not been paid. (Leishure Dec., ¶ 8).3 Given EGCC’s track record, SRC expects that EGCC

will also wrongfully withhold SRC’s profit-sharing payments for the semesters ending after

December 2021, which SRC calculates will be approximately $8,359,643 if the $2,357,153.08

amount is left unpaid, and it will be due by September 30, 2022. (Leishure Dec., ¶ 10).

             d. EGCC’s Failure to Make the Profit-Sharing Payments Owed to SRC Will
                Force SRC to Reduce Its Staffing By 35 Employees.

        Because of EGCC’s failure to submit the profit-sharing payment of $2,357,153.08, SRC

will not be able to sustain its current level of operational expenses. (Leishure Dec., ¶ 11). If SRC

does not receive the $2,357,153.08 profit-sharing payment by August 19, 2022, SRC will need to

terminate approximately 35 employees as part of a reduction in force to keep SRC sustainable.

(Braithwaite Dec., ¶ 14). Although difficult to predict, a reduction in force will likely be delayed

and not be as broad if EGCC submits the $2,357,153.08 profit-sharing payment by August 19,

2022 and if EGCC timely tenders SRC’s profit-sharing payment of approximately the difference

between $2,357,153.08 and $8,359,643, which is due by September 30, 2022. (Braithwaite Dec.,

¶ 14; Leishure Dec., ¶ 10).

             e. EGCC Continues to Compete With SRC in Violation of the Order By Hiring
                SRC’s Former Employee, Brittani Gassner.

        As admitted by Mr. Geoghegan during the preliminary injunction hearing, EGCC used

SRC’s removal of Perik as SRC’s CEO as a pretext for wrongfully attempting to terminate the

agreement in order to compete with SRC by hiring academic advisors and admissions counselors


3
 The letter from opposing counsel is not attached hereto because it was purportedly sent pursuant to Fed. R. Evid.
408.




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in-house through what he described as a “big shift” transition. (ECF No. 16, PAGEID# 386-89).

To effectuate that transition, EGCC began hiring several SRC call center employees prior to the

preliminary injunction hearing to align with its strategy to wrongfully withhold profit-sharing

payments. (Id.) By withholding payments to SRC, EGCC incentivized SRC’s employees to

transition their employment to EGCC in order to conduct the same work given SRC’s heavy

reliance on the Agreement with EGCC, its primary partner. (ECF No. 12, Ex. C, ¶ 10). As a result,

EGCC’s actions stymie SRC’s ability to carry out its duties under the Agreement and accelerates

the rate at which SRC will need to unwind its affairs should it become insolvent. (Braithwaite

Dec., ¶¶ 13-14, 17).

       The Court’s Order, however, aims to prevent that irreparable harm to SRC by prohibiting

EGCC from competing with SRC. Nevertheless, EGCC disregarded the Court’s Order and

continues to compete with SRC. Specifically, on or around July 7, 2022, EGCC hired Ms. Brittani

Gassner. Up until June 29, 2022, Ms. Gassner was SRC’s VP of Partner Operations. (Braithwaite

Dec., ¶¶ 19-23). She had worked for SRC for a number of years and provided a critical component

of SRC’s daily operations including responsibility over the collaboration’s marketing and

management of SRC’s call center. (Braithwaite Dec., ¶¶ 19-21). She also previously acted as

SRC’s VP of Student Services. (Braithwaite Dec., ¶¶ 19-21). In both roles, Ms. Gassner worked

with SRC’s academic advisors and admissions counselors to help serve EGCC’s student body and

was one of only four Vice Presidents at the time of her departure. (Braithwaite Dec., ¶ 22). In her

new role at EGCC, Ms Gassner provides the same job functions as she did while she was employed

by SRC. (Braithwaite Dec., ¶ 25).

       Ms. Gassner’s work on behalf of EGCC is in violation of the Court’s Order as well as a

Restricted Units Agreement (the “Employment Agreement”) that she executed with SRC in




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August 2021. (Braithwaite Dec., ¶¶ 16-18, Ex. 2-E). Among other provisions, the Employment

Agreement prohibits Ms. Gassner, for a period of time post-employment, from “participat[ing] in

any way” in an entity that, among other things, engages in “the sale of educational products to

members of state and national labor organizations, professional organizations and other employers

and their family members (collectively, the “Applicable Students”), recruitment and enrollment

of Applicable Students, services to support the success of Applicable Students, such as mentoring

and online tutoring…” See (Braithwaite Dec., ¶¶ 16-18, Ex. 2-E). SRC notified EGCC of this

violation on August 5, 2022. See (Braithwaite Dec., ¶¶ 27-28, Ex. 2-F). That letter asked EGCC

to immediately terminate its employment of Ms. Gassner and so certify to SRC in writing, which

EGCC has ignored to date. (Id.)

   III.      LAW AND ARGUMENT

             a. This Court’s Contempt Power

          Federal law grants to federal courts the power to punish and hold in contempt persons who

violate court orders. 18 U.S.C. § 401. “Civil contempt . . . is a sanction to enforce compliance with

an order of the court or to compensate for losses or damages sustained by reason of

noncompliance.” McComb v. Jacksonville Paper Co., 336 U.S. 187, 191 (1949). A district court

“may fashion the remedy for civil contempt and many remedies are available including the doing

of specified acts, incarceration and fine.” U.S. Diamond & Gold v. Julius Klein Diamonds LLC,

2008 U.S. Dist. LEXIS 57825, *10 (S.D. Ohio July 29, 2008) (citing United States v. Conces, 507

F.3d 1028, 1043-44 (6th Cir. 2007)). The power of district courts to punish for contempt “is a

necessary and integral part of the independence of the judiciary, and is absolutely essential to the

performance of the duties imposed on them by law.” Gompers v. Bucks Stove & Range Co., 221

U.S. 418, 450 (1911). In the Sixth Circuit, the order violated must be “definite and specific.”




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Conces, 507 F.3d at 1041. This Court’s Order is unequivocal and clear: “the Court ENJOINS

Defendant EGCC, preliminarily, from … breaching the Agreement’s non-competition provisions

by starting and operating a competing business while the Agreement remains in effect.” (ECF No.

14, PAGEID# 290-91). Defendant has not asked for any further clarification of the Order it has

violated.

       The test for whether an order of the court has been violated is an objective standard that

asks whether the alleged contemnor has failed to take all reasonable steps within its power to

comply with the court’s order. Nettis Environmental Ltd. v. IWI, Inc., 46 F. Supp.2d 722, 726 (N.D.

Ohio 1999). There is no “subjective good faith standard,” and the moving party need not

demonstrate willfulness to establish civil contempt. Id.

            b. Defendant EGCC Blatantly Violated the Court’s Injunctive Order.

       EGCC failed to comply with the Court’s Order by willfully choosing to hire and then

continuing to employ one of SRC’s high-level executives, Ms. Gassner. This action was taken as

part of a direct campaign to compete with SRC by bringing SRC’s functions in-house. This

violates the plain terms of the Agreement.

       As the Court is already aware, Section 8 of the Agreement bars EGCC from engaging in

“any action for the purpose of entering into any joint venture, collaboration or similar arrangement

that is competitive with the Education Programs provided by the Collaboration to union members.”

(ECF No. 14, PAGEID# 287) (emphasis in original). At the time of EGCC’s hire of Ms. Gassner,

EGCC knew that she was SRC’s former VP of Partner Operations and that she had worked for

SRC for a number of years and provided a critical component of SRC’s daily operations.

(Braithwaite Dec., ¶¶ 19-21). In fact, Ms. Gassner regularly communicated and worked with

EGCC staff given the fact that EGCC remains SRC’s primary partner. (Braithwaite Dec., ¶ 22).




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Given these facts, as well as the fact that Ms Gassner is performing nearly identical job functions

as she did while she was employed by SRC, EGCC took no reasonable steps to verify whether Ms.

Gassner’s Employment Agreement contained a non-competition provision or to seek approval

from SRC to hire Ms. Gassner. (Braithwaite Dec., ¶¶ 17-18). EGCC hired Ms. Gassner at or around

the time of the Court’s Order. The Court should make a finding of contempt against EGCC unless

and until Ms. Gassner’s employment is terminated and issue an order granting SRC the relief

sought in this motion.

           c. Applicable Legal Standard for Preliminary Injunction

       Rule 65 of the Federal Rules of Civil Procedure permits this Court to issue injunctive relief.

See Fed.Civ.R. 65. In determining whether to grant or deny injunctive relief, a Court must consider

the following factors: (1) whether the movant has a likelihood of success on the merits; (2) whether

the movant would suffer irreparable injury without the injunction; (3) whether issuance of the

injunction would cause substantial harm to others; and (4) whether the public interest would be

served by the issuance of the injunction. Marshall v. Ohio Univ., No. 2:15-cv-775, 2015 U.S. Dist.

LEXIS 31272, at *10-11 (S.D. Ohio Mar. 13, 2015) (quoting Chabad of S. Ohio & Congregation

Lubavitch v. City of Cincinnati, 363 F.3d 427, 432 (6th Cir. 2004)). The factors for granting a

preliminary injunction are not “prerequisites,” but are balanced against one another. Union Home

Mortgage Corp. v. Payne, No. 1:20-cv-26, 2020 WL 4282309, at *5 (N.D. Ohio Mar. 9, 2020).

       “The decision whether to issue a temporary restraining order or preliminary injunction falls

within the sound discretion of the district court. Ultimately, ‘[t]he purpose of a preliminary

injunction is always to prevent irreparable injury so as to preserve the court’s ability to render a

meaningful decision on the merits.’” Marshall, 2015 U.S. Dist. LEXIS 31272, at *11 (quoting




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United Food & Commercial Workers Union, Local 1099 v. Southwest Ohio Reg’l Transit Auth.,

163 F.3d 341, 348 (6th Cir. 1998)).

           d. SRC’s Requested Injunctive Relief is Appropriate.

       SRC seeks, in part, the immediate payment of wrongfully withheld and undisputed profit-

sharing payments. Given the factual circumstances before the Court, SRC’s requested relief is

appropriate since the status quo is “a condition not of rest, but of action.” United States v. Price,

688 F.2d 204, 212 (3d Cir. 1982) (quoting in Toledo, A. A. & N. M. Ry. Co. v. Pennsylvania Co.,

54 F. 730, 741 (C.C., N.D. Ohio 1893) (“The office of a preliminary injunction is to preserve the

status quo until, upon final hearing, the court may grant full relief. Generally this can be

accomplished by an injunction prohibitory in form, but it sometimes happens that the status quo is

a condition not of rest, but of action, and the condition of rest is exactly what will inflict the

irreparable injury upon complainant.... In such a case[,] courts of equity issue mandatory writs

before the case is heard on its merits.”). “The fact that an injunction may require the payment or

expenditure of money does not necessarily foreclose the possibility of equitable relief.” Price, at

214; see also Stenberg v. Cheker Oil Co., 573 F.2d 921, 925 (6th Cir. 1978) (Noting that “the

purpose of a preliminary injunction is always to prevent irreparable injury so as to preserve the

court’s ability to render a meaningful decision on the merits.”).

       The Sixth Circuit previously addressed a similar set of facts in Performance Unlimited,

Inc. v. Questar Publishers, Inc., 52 F.3d 1373 (6th Cir. 1995). In that case, the plaintiff sought a

preliminary injunction arising from the defendant’s nonpayment of royalties owed under a

licensing agreement. Id. at 1375. Part of the plaintiff’s requested relief included the payment of

royalties owed. Id. at 1377. The plaintiff contended that it would suffer irreparable harm without

the royalty payments, namely “the collapse of its business[.]” Id. Ultimately, the Sixth Circuit




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reversed the district court’s decision to deny the plaintiff the preliminary injunction, and directed

the lower court to issue an order that would preserve the plaintiff corporation “as an ongoing

enterprise” in light of the irreparable harm the plaintiff would sustain absent the payment of the

royalties. Id. at 1386.

       Here, an injunction is necessary to preserve SRC’s survival, similar to the plaintiff’s

survival in Performance Unlimited, in the face of EGCC’s efforts to squeeze SRC out of existence

in order for EGCC to compete with SRC by withholding past profit-sharing payments owed to

SRC. (ECF No. 12, Ex. C, ¶ 21; ECF No. 12, Ex. F, ¶ 7; ECF No. 16, PAGEID# 345). Thus, the

Court should grant SRC the requested relief it seeks.

           e. EGCC Does Not Dispute It Owes SRC Past Profit-Sharing Payments, and
              Therefore SRC Has a High Likelihood of Success On Count II of the
              Complaint.

       To show a likelihood of success on the merits, a plaintiff must demonstrate more than a

mere possibility of success, but it need not “‘prove [its] case in full.’” Northeast Ohio Coalition v.

Husted, 696 F.3d 580, 591 (6th Cir. 2012) (quoting Certified Restoration Dry Cleaning Network

v. Tenke Corp., 511 F.3d 535, 543 (6th Cir. 2007)). EGCC’s failure to pay profit-sharing payments

due and owed and its efforts to circumvent SRC and cut it out of the Agreement by hiring its

employees are all in breach of the Agreement. To establish a breach of contract claim under Ohio

law, SRC must show: (1) that a contract existed; (2) that SRC performed under that contract; (3)

that EGCC breached that contract; and (4) that SRC suffered damages as a result of that breach.

Pavlovich v. National City Bank, 435 F.3d 560,565 (6th Cir. 2006).

                    i. SRC Performed Under the Collaboration Agreement with EGCC.

       There is no dispute that SRC and EGCC entered into the Agreement on June 30, 2017 –

which they later amended on or around October 2019 and on February 1, 2021. See (ECF No. 11,




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Ex. A; ECF No. 12, Ex. C, ¶ 3). At all times past and present, SRC has met its performance

obligations under the Agreement. (Braithwaite Dec., ¶ 12). In fact, SRC’s efforts have catapulted

EGCC’s enrollment from approximately 5,549 students in the fall semester 2016 to over 42,500

students in fall semester 2021. See (ECF No. 12, Ex. C, ¶ 9). While EGCC previously argued that

SRC was in breach of the Agreement, the Court previously rejected that argument. See (ECF No.

14, PAGEID# 286). Therefore, SRC has satisfied its performance under the Agreement.

                  ii. EGCC Breached the Agreement By Failing to Submit Profit-Sharing
                      Payments to SRC for Semesters Ending Prior to December 31, 2021
                      and By Hiring Brittani Gassner.

       Under the Agreement, EGCC must reimburse SRC for its operational expenses. (ECF No.

11, Ex. A). The Agreement also requires EGCC to share surplus profits with SRC in at the end of

each semester: “Within thirty (30) days of the end of the summer and fall semesters, EGCC will

provide SRC with a semester reconciliation of the Revenue Collected and Operating Expenses

paid in each such semester… EGCC will distribute the Surplus from the Collaboration Account as

follows: 50% to SRC and 50% to EGCC.” (Id.) SRC is entitled to 50% of the surplus of funds

remaining in the Collaboration Account as shown in the semester reconciliation. (Id. at Paragraph

3). The summer 2021 semester ended on August 1, 2021 and fall 2021 semester ended on

December 13, 2021 yet SRC has not received profit-sharing payments for either semester. (ECF

No. 12, Ex. C, ¶ 20).

       Prior to Michael Perik’s removal, EGCC made pro-rata profit-sharing payments twice a

month but EGCC ceased that standard practice after Mr. Perik was removed from his role as SRC’s

CEO as part of EGCC’s campaign to shut down SRC’s operations. (ECF No. 16, PAGEIDE# 345).

EGCC’s refusal to make profit-sharing payments to SRC greatly disrupts SRC’s operations since

approximately 95% of SRC’s revenue comes from EGCC. (ECF No. 12, Ex. C, ¶ 10).




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       EGCC’s own financial records demonstrate that it owes SRC a profit-sharing payment of

$2,357,153.08 for semesters ending prior to December 31, 2021. On July 11, 2022, Ms. Leishure

submitted an account statement to EGCC representing the profit-sharing amounts owed based on

the EGCC enrollments for semesters completed prior to December 31, 2021. (Leishure Dec., ¶¶ 4-

5). The amount demanded was $2,357,153.08 and was supported by EGCC’s April 30, 2022

financial statements. (Leishure Dec., ¶¶ 4-5). Nevertheless, EGCC has ignored SRC’s multiple

attempts to collect payment for the profit-sharing payments. See e.g., (Braithwaite Dec., ¶¶ 3-11,

Ex. 2-A (5/20/2022 correspondence); Braithwaite Dec., Ex. 2-B (6/10/2022 correspondence);

Braithwaite Aff., Ex. 2-C (7/18/2022 correspondence); Braithwaite Dec., Ex. 2-D (8/1/2022

correspondence)).

       In addition, EGCC offered no testimony to dispute the profit-sharing payments owed to

SRC despite an opportunity to cross-examine Ms. Leishure and an opportunity to elicit testimony

from EGCC’s president, Mr. Geoghegan. See generally (ECF No. 16, PAGEID# 365-417).

Instead, Mr. Geoghegan mentioned only that he, on behalf of EGCC, disputes the operational-

expense reimbursements (i.e., ECF No. 11, Ex. B to the Agreement, Paragraph 2) but not the profit-

sharing payments (i.e., ECF No. 11, Ex. B to the Agreement, Paragraph 3).

       Moreover, on July 20, 2022, EGCC conducted a meeting of its Board of Trustees, and

during that meeting, EGCC’s own accounting department acknowledged its current liabilities of

approximately $2,500,000 due and owed to SRC under the Agreement for the profit-sharing

payment. See (Leishure Dec., ¶ 6). Finally, on August 2, 2022, EGCC sent correspondence to

SRC’s counsel, which raised several points of contention between the parties but left unaddressed

several aspects of EGCC’s failure to pay any amount of profit-sharing payments to SRC. See

(Leishure Dec., ¶¶ 7-8). For example, EGCC’s letter (1) did not dispute that it owes SRC profit-




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sharing payments; (2) did not explain or demonstrate why SRC’s $2,357,153.08 calculation was

inaccurate; and (3) identified a substantially smaller “preliminary estimate” of what it does not

dispute is owed to SRC but failed to offer any assurance as to when that amount would be paid to

SRC. See (Leishure Dec., ¶¶ 7-8).

       Under Section 7.4(c) of the Collaboration Agreement, SRC holds the right to, upon

“reasonable written notice,” to audit EGCC’s Controlled Accounts and Records and “supporting

documents and materials in the possession of or under the control of EGCC with respect to such

matters, at the place or places where such records are normally retained by EGCC.” (ECF No. 11,

Ex. A, Section 7.4(c)). On multiple occasions, SRC provided written notice to EGCC invoking

Section 7.4(c) to avoid any delay. See e.g., (Braithwaite Dec., Ex. 2-B, June 10, 2022 (“In

accordance with [Section 7.4(c)], please consider this communication written notice that SRC

invokes its right to audit the controlled accounts and records necessary to confirm all amounts

owed as detailed herein and such other items as permitted by the Agreement.”); (Braithwaite Dec.,

Ex. 2-C, July 18, 2022)). EGCC waited until August 2, 2022 to respond, and simply indicated it

was “assembling responsive documents” but nevertheless has not provided any to SRC to date.

See (Leishure Dec., ¶ 8).

       All of EGCC’s actions reflect a failure by EGCC to address the profit-sharing payments

seriously and in good faith, which illustrates EGCC’s continued dilatory tactics are an attempt to

squeeze out SRC’s ability to survive. (Leishure Dec., ¶ 9). Given EGCC’s track record, SRC

expects that EGCC will also wrongfully withhold SRC’s profit-sharing payments for the spring

and summer 2022 semesters, which SRC calculates will be approximately $8,359,643 and are due

by September 30, 2022 if EGCC fails to pay the $2,357,153.08 amount beforehand. (Leishure

Dec., ¶ 10).




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       EGCC also breached Section 8 of the Agreement by hiring Ms. Gassner. Under Section 8,

EGCC shall not “take any action for the purpose of entering into any joint venture, collaboration

or similar arrangement that is competitive with the Educational Programs provided by the

Collaboration to union members[.]” See (ECF No. 11, Ex. A, Section 8). As stated above, Ms.

Gassner was, until June 29, 2022, an employee of SRC. Ms. Gassner acted as SRC’s VP of Partner

Operations and she had worked for SRC for a number of years and held responsibility of several

significant aspects of SRC’s daily operations such as SRC’s call center and program marketing.

(Braithwaite Dec., ¶¶ 19-22). These duties included the supervision of admissions counselors,

academic advisors, and data-entry clerks. (Braithwaite Aff., ¶ 19). EGCC was keenly aware of Ms.

Gassner’s position at SRC since she regularly communicated and worked with EGCC staff.

(Braithwaite Dec., ¶ 24). In her new role at EGCC, Ms. Gassner will perform nearly identical job

functions as she did while she was employed by SRC, which violates Ms. Gassner’s non-compete

agreement with SRC. (Braithwaite Dec., ¶ 25). EGCC took no reasonable steps to verify whether

Ms. Gassner’s Employment Agreement contained a non-competition provision and thus has not

only taken action to compete with SRC but has also facilitated further damage to SRC’s enterprise

through the violation of Ms. Gassner’s non-compete agreement. EGCC has continued with its

wrongful actions despite specifically be notified in writing of its and Ms. Gassner’s violations on

August 5, 2022. See Braithwaite Dec., ¶¶ 27-28, Ex. 2-F

                  iii. Damages: Without Injunctive Relief, SRC Will Go Out of Business.

       Without the immediate payment of the profit-sharing amounts owed, SRC will no longer

be able to sustain its current level of operational expenses, it will quickly become insolvent

(Leishure Dec., ¶ 11). If EGCC fails to make the profit-sharing payments owed to SRC by August

19, 2022, SRC has no other choice but to significantly reduce its staffing to continue its operations.




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(Leishure Dec., ¶ 11). This reduction in force will result in SRC terminating approximately 35

employees. (Braithwaite Dec., ¶ 14). Even if SRC reduces its staff, SRC will not be able to sustain

itself past September 30, 2022, which is when EGCC will owe SRC approximately $8,359,643 for

all profit-sharing payments for semesters prior to the summer 2022 semesters. (Braithwaite Dec.,

¶¶ 14-15; Leishure Dec., ¶10). Aware of the “dire straits” EGCC has put SRC into, EGCC seeks

to delay payment to SRC as long as possible in its “own attempts to cut SRC out of the referral

pipeline” by putting SRC out of business. See (ECF No. 16, PAGEID# 328; ECF No. 14,

PAGEID# 286).

           f. SRC Will Suffer Irreparable Harm if Injunctive Relief is Not Granted.

        “To demonstrate irreparable harm, the plaintiffs must show that ... they will suffer actual

or imminent harm rather than harm that is speculative or unsubstantiated.” Abney v. Amgen, Inc.,

443 F.3d 540, 552 (6th Cir. 2006). Harm is irreparable if it cannot be fully compensated by

monetary damages. Overstreet v. Lexington-Fayetee Urban Cnty. Gov’t, 305 F.3d 566, 578 (6th

Cir. 2002). Courts have held that an injury is not fully compensable by money damages if the

nature of Plaintiff’s loss would make damages difficult to calculate. Basicomputer Corp. v. Scott,

973 F.2d 507, 511 (6th Cir. 1992).

        Furthermore, courts have recognized irreparable harm when a financial hardship would be

so severe that it would cause the moving entity to be “completely wiped out,” thereby rendering

“a later judgment on the merits meaningless.” Stenberg v. Cheker Oil Co., 573 F.2d 921, 924 (6th

Cir.1978); See also Sisay v. Smith, 310 F. App’x 832, 851 (6th Cir. 2009) (citing cases); United

States v. Price, 688 F.2d 204, 212 (3d Cir. 1982) (“The fact that an injunction may require the

payment or expenditure of money does not necessarily foreclose the possibility of equitable

relief.”); Performance Unlimited, Inc. v. Questar Publishers, Inc., 52 F.3d 1373 (6th Cir. 1995).




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         Here, SRC derives 95% of its revenue from its relationship with EGCC. (ECF No. 12, Ex.

C, ¶¶ 10). It is impossible to calculate the value of SRC’s ongoing business enterprise and its

relationships with its union partners. (Braithwaite Dec., ¶ 26). It is also impossible to measure the

damages wrought by EGCC’s competition in violation of a non-competition provision by hiring

SRC’s former VP of Partner Operations and continuing to employ her in light of the Court’s Order.

(Braithwaite Dec., ¶¶ 19-25). Nevertheless, EGCC’s refusal to make the required profit-sharing

payment of $2,357,153.08 for semesters ending prior to December 31, 2021 violates the

Agreement. As a result of EGCC’s breach, SRC will be required to significantly reduce its staff

and ultimately will need to dissolve the business without the immediate payment of the past due

profit-sharing payments. (Braithwaite Dec., ¶¶ 14-15). Although difficult to predict, a reduction in

force will likely be delayed and not be as extensive if EGCC submits the $2,357,153.08 profit-

sharing payment by August 19, 2022 and if EGCC then timely tenders the remaining portion of

the approximately $8,359,643 profit-sharing payment owed. (Braithwaite Dec., ¶ 14; Leishure

Dec., ¶ 10).

   IV.      Third Party Harm and Public Interest

         The public interest will be served if SRC is granted an injunction. Through SRC’s efforts,

SRC has coached and advised thousands of students and increased EGCC’s annual enrollment by

tens of thousands more. (Braithwaite Dec., ¶ 12). EGCC’s anticompetitive attempts to cut out

SRC by withholding profit-sharing payments in violation of the Agreement undermines SRC’s

high-quality advising and coaching service to union members and students. (ECF No. 12, Ex. C,

¶ 32). As the Court previously noted, however, since this matter relates to a private contractual

dispute, the third-party harm and public-interest factors “play a diminished role” in the Court’s

preliminary-injunction analysis. (ECF No. 14, PAGEID# 290). Further, from the prospective of




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the students, “so long as support services are rendered effectively, the provider is immaterial.”

(ECF No. 14, PAGEID# 290).

                        CONCLUSION AND RELIEF REQUESTED

       For these reasons, the Court should grant the foregoing motion and expand its Order to (1)

enjoin EGCC from continuing to wrongfully withhold profit-sharing payments owed to SRC of

$2,357,153.08 for semesters that ended prior to December 2021; (2) require EGCC to immediately

submit payment of the $2,357,153.08 undisputed profit-sharing payment due for the semesters that

ended prior to December 2021; (3) require EGCC to submit payment of any undisputed profit-

sharing payment due for the spring 2022 and summer 2022 semesters on or before September 30,

2022; and (4) require EGCC to immediately permit SRC to initiate an audit under Section 7.4(c)

of the Collaboration Agreement. Separately, the Court should issue an order requiring EGCC to

show cause as to why it should not be found in contempt for hiring SRC’s former employee,

Brittani Gassner and impose a daily fine unless and until she is terminated from employment by

EGCC. For the foregoing reasons, SRC respectfully seeks an order, following a show cause

hearing held as soon as the Court’s schedule will allow granting the relief requested herein. A

proposed order granting the relief sought herein is attached hereto as Exhibit 1.

 Dated: August 12, 2022                              Respectfully submitted,

                                                     /s/ Robert C. Folland
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2022, a copy of forgoing was filed electronically

via the Court’s CM/ECF filing system and served on all counsel of record.

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                                                   /s/ Robert C. Folland
                                                   Robert C. Folland




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